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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Charles Berry,                           )
                                         )
       Plaintiff,                        )
                                         )
       v.                                )       No.    10 C 8087
                                         )
Central Portfolio Control, Inc., a       )
Minnesota corporation, Mercantile        )
Adjustment Bureau, LLC, a New York )
limited liability company, Razor Capital )
II, LLC, a Minnesota limited liability   )
company, and Razor Capital, LLC, a       )
Minnesota limited liability company,     )
                                         )
       Defendants.                       )       Jury Demanded

                                      COMPLAINT

      Plaintiff, Charles Berry, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt collection

actions violated the FDCPA, and to recover damages for Defendants’ violations of the

FDCPA, and alleges:

                             JURISDICTION AND VENUE

      1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

      2.     Venue is proper in this District because: a) some of the acts and

transactions occurred here; and b) Defendants reside and transact business here.

                                        PARTIES

      3.     Plaintiff, Charles Berry ("Berry"), is a citizen of the State of Ohio, from

whom Defendants attempted to collect a delinquent consumer debt owed for a World

Foremost Bank credit card, despite the fact that he was represented by the legal aid
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attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and People with

Disabilities program ("LASPD"), located in Chicago, Illinois.

       4.      Defendant, Central Portfolio Control, Inc. (“CPC”), is a Minnesota

corporation which acts as a debt collector, as defined by § 1692a of the FDCPA,

because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts. CPC operates a nationwide delinquent debt collection

business and attempts to collect debts from consumers in virtually every state, including

consumers in the State of Illinois.

       5.      Defendant, Mercantile Adjustment Bureau, LLC (“Mercantile”), is a New

York limited liability company which acts as a debt collector, as defined by § 1692a of

the FDCPA, because it regularly uses the mails and/or the telephone to collect, or

attempt to collect, directly or indirectly, delinquent consumer debts. Mercantile collects

delinquent debts from consumers in virtually every state, including consumers in the

State of Illinois.

       6.      Defendants, Razor Capital II, LLC (“Razor Two”), and Razor Capital, LLC

(“Razor One”), are both Minnesota limited liability companies, which act as debt

collectors, as defined by § 1692a of the FDCPA, because they regularly use the mails

and/or the telephone to collect, or attempt to collect, delinquent consumer debts. Razor

Two and Razor One operate nationwide delinquent debt collection businesses and

attempt to collect debts from consumers in virtually every state, including consumers in

the State of Illinois.

       7.      Moreover, Defendants Razor Two and Razor One are sister corporations

that act as debt scavengers -- buying large portfolios of defaulted consumer debts for



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pennies on the dollar, the full amount of which debts they then try to collect through

other debt collectors, like Defendants CPC and Mercantile.

        8.    All of the Defendants are licensed to conduct business in Illinois and

maintain registered agents here, see, records from the Illinois Secretary of State,

attached as Group Exhibit A. In fact, all Defendants conduct business in Illinois.

        9.    Moreover, Defendants CPC, Mercantile and Razor One are also licensed

as collection agencies in Illinois, see, record from the Illinois Division of Professional

Regulation, attached as Group Exhibit B. In fact, Defendants act as debt collectors in

Illinois.

                                FACTUAL ALLEGATIONS

        10.   Mr. Berry is a disabled man, with limited assets and income, who fell

behind on paying his bills, including a consumer debt he owed for a World Foremost

Bank credit card. At some point in time after that debt became delinquent, it was

bought by either Defendant Razor Two or Razor One, and when one of these

Defendants began trying to collect this debt from Mr. Berry, he sought the assistance of

the legal aid attorneys at the Chicago Legal Clinic’s LASPD program, regarding his

financial difficulties and Defendants’ collection actions.

        11.   Specifically, via a letter dated June 4, 2010, Defendant CPC demanded

that Mr. Berry pay the World Foremost Bank debt. In this letter, Defendant CPC stated

that Defendant Razor Two was the current owner of the debt. A copy of this letter is

attached as Exhibit C.

        12.   Accordingly, on July 29, 2010, one of Mr. Berry’s attorneys at LASPD

informed Defendant Razor Two, through its agent, CPC, that Mr. Berry was represented

by counsel, and directed Razor Two to cease contacting him, and to cease all further

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collection activities because Mr. Berry was forced, by his financial circumstances, to

refuse to pay his unsecured debt. Copies of this letter and fax confirmation are

attached as Exhibit D.

       13.    Defendant Mercantile then sent Mr. Berry a collection letter, dated October

21, 2010, which demanded payment of the World Foremost Bank debt; however, in this

letter, the current owner of the debt was identified as Defendant Razor One. A copy of

this collection letter is attached as Exhibit E.

       14.    Accordingly, on November 23, 2010, Mr. Berry’s LASPD attorney sent

Defendant Razor One, through its agent, Defendant Mercantile, a letter, directing them

to cease communications and to cease collections. Copies of this letter and fax

confirmation are attached as Exhibit F.

       15.    All of Defendants’ collection actions complained of herein occurred within

one year of the date of this Complaint.

       16.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                        COUNT I
                               Violation Of § 1692g(a)(2)
                  Failure To Identify The Current Creditor Effectively

       17.    Plaintiff adopts and realleges ¶¶ 1-16.

       18.    Section 1692g of the FDCPA requires that, within 5 days of Defendants'

first communication to a consumer, they must provide consumers with an effective

validation notice, containing, among other disclosures, “(2) the name of the creditor to

whom the debt is owed;”, see, 15 U.S.C. § 1692g(a)(2).



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      19.    Defendants' form collection letters leave anyone, let alone the

unsophisticated consumer, with no idea as to who was actually the current creditor --

Razor Capital, II, LLC or Razor Capital, LLC. Thus, Defendants' form collection letters

violate § 1692g(2) of the FDCPA.

      20.    Defendants' violation of § 1692g of the FDCPA renders them liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                       COUNT II
                        Violation Of § 1692e Of The FDCPA --
                              Making False Statements

      21.    Plaintiff adopts and realleges ¶¶ 1-16.

      22.    Section 1692e of the FDCPA prohibits Defendants from making any false,

deceptive or misleading statements in connection with the collection of any debt, see,

15 U.S.C. § 1692e.

      23.    Defendants' form collection letters, referencing two different entities as the

current creditor, cannot both be correct. Thus, one or the other of these letters are

false, deceptive or misleading, in violation of § 1692e of the FDCPA.

      24.    Defendants’ violations of § 1692e of the FDCPA render them liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                       COUNT III
                       Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And To Cease Collections

      25.    Plaintiff adopts and realleges ¶¶ 1-16. This Count III is brought against

Defendants Mercantile, Razor One and Razor Two.

      26.    Section 1692c(c) of the FDCPA prohibits a debt collector from




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communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      27.    Here, the letter from Mr. Berry’s agent, LASPD, told Defendants to cease

communications and to cease collections (Exhibit D). By continuing to communicate

regarding this debt and demanding payment (Exhibit E), Defendants violated § 1692c(c)

of the FDCPA.

      28.    Defendants’ violation of § 1692c(c) of the FDCPA renders them liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   COUNT IV
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      29.    Plaintiff adopts and realleges ¶¶ 1-16. This Count IV is brought against

Defendants Mercantile, Razor One and Razor Two.

      30.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      31.    Defendants knew, or readily could have known, that Mr. Berry was

represented by counsel in connection with his debts because his attorneys at LASPD

had informed Defendants, in writing, that Mr. Berry was represented by counsel, and

had directed a cessation of communications with Mr. Berry. By directly sending Mr.

Berry the second collection letter (Exhibit E) despite being advised that he was

represented by counsel, Defendants violated § 1692c(a)(2) of the FDCPA.



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       32.    Defendants’ violation of § 1692c(a)(2) of the FDCPA renders them liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                  PRAYER FOR RELIEF

       Plaintiff, Charles Berry, prays that this Court:

       1.     Find that Defendants’ debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Berry, and against Defendants, for

statutory damages, costs, and reasonable attorneys’ fees as provided by § 1692k(a) of

the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Charles Berry, demands trial by jury.

                                                     Charles Berry,

                                                     By: /s/ David J. Philipps_______
                                                     One of Plaintiff's Attorneys

Dated: December 21, 2010

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